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                        Exhibit 15

            Docket Sheet and Complaint
          Rankin v. Harris Teeter, LLC, et al.,
             No 8:23-cv-02864 (D. Md.)
            Case MDL No. 3089 Document 233-17 Filed 10/25/23 Page 2 of 4

                                    U.S. District Court
                             District of Maryland (Greenbelt)
                     CIVIL DOCKET FOR CASE #: 8:23−cv−02864−TDC

Rankin v. Harris Teeter, LLC et al                             Date Filed: 10/23/2023
Assigned to: Judge Theodore D. Chuang                          Jury Demand: Plaintiff
Cause: 28:1332 Diversity Action                                Nature of Suit: 190 Contract: Other
                                                               Jurisdiction: Diversity
Plaintiff
Stacy Rankin                                    represented by Kevin Ira Goldberg
individually and on behlaf of all others                       Goldberg Law, LLC
similarly situated                                             401 Salk Circle
                                                               Gaithersburg, MD 20878
                                                               301−343−5817
                                                               Email: kigoldberg@aol.com
                                                               ATTORNEY TO BE NOTICED


V.
Defendant
Harris Teeter, LLC

Defendant
Harris Teeter Supermarkets, Inc.

Defendant
Reckitt Benckiser LLC

Defendant
Kenvue, Inc.

Defendant
McNeil Consumer Healthcare

Defendant
Proctor & Gamble Company

Defendant
Foundation Consumer Brands, LLC


 Date Filed      #    Docket Text
 10/23/2023       1 UNREDACTED COMPLAINT Class Action against All Defendants ( Filing fee $ 402
                    receipt number AMDDC−10885691.), filed by Stacy Rankin. (Attachments: # 1 Civil
                    Cover Sheet Civil Cover Sheet 02864)(Goldberg, Kevin) Modified on 10/24/2023
                    (bw5s, Deputy Clerk). (Entered: 10/23/2023)
 10/23/2023       2 NOTICE by Stacy Rankin re 1 Complaint REDACTED (Goldberg, Kevin) (Entered:
                    10/23/2023)
 10/24/2023       3 CASE MANAGEMENT ORDER. Signed by Judge Theodore D. Chuang on
                    10/24/2023. (ds2s, Deputy Clerk) (Entered: 10/24/2023)
 10/24/2023       4 QC NOTICE: 1 UNREDACTED Complaint, filed by Stacy Rankin was filed
                    incorrectly.
                    **The following attachments are missing − Proposed Summons. To correct this
                    problem, file Summons using the event Notice (Other) and link Proposed Summons to
                    1 UNREDACTED Complaint. (bw5s, Deputy Clerk) (Entered: 10/24/2023)
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